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                                                      UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF VIRGINIA

                                                                       CHAPTER 13 PLAN
                                                                     AND RELATED MOTIONS
Name of Debtor(s):                    Michelle Naomi Campbell-Thomas                                          Case No:   07-10381


This plan, dated            March 14, 2007             , is:

                       n         the first Chapter 13 plan filed in this case.
                       o         a modified plan, which replaces the plan dated                           .

                                 Date and Time of Modified Plan Confirming Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The plan provisions modified by this filing are:


                       Creditors affected by this modification are:


NOTICE: YOUR RIGHTS WILL BE AFFECTED. You should read these papers carefully. If you
oppose any provision of this plan, or if you oppose any included motions to (i) value collateral, (ii) avoid
liens, or (iii) assume or reject unexpired leases or executory contracts, you MUST file a timely written
objection.
This plan may be confirmed and become binding, and the included motions in paragraphs 3, 6, and 7 to
value collateral, avoid liens, and assume or reject unexpired leases or executory contracts may be
granted, without further notice or hearing unless a written objection is filed not later than ten (10) days
prior to the date set for the confirmation hearing and the objecting party appears at the confirmation
hearing.
The debtor(s)' schedules list assets and liabilities as follows:

          Total Assets: $1,287,850.00
          Total Non-Priority Unsecured Debt: $18,771.35
          Total Priority Debt: $8,979.00
          Total Secured Debt: $1,000,000.00




                                                                                                 Page 1

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1.         Funding of Plan. The debtor(s) propose to pay the trustee the sum of $350.00 Monthly for 12 months, then $2,000.00
           Monthly for 48 months. Other payments to the Trustee are as follows: NONE . The total amount to be paid into the
           plan is $ 100,200.00 .

2.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.

           A.           Administrative Claims under 11 U.S.C. § 1326.

                        1.            The Trustee will be paid 10% of all sums disbursed except for funds returned to the debtor(s).
                        2.            Debtor(s)' attorney will be paid $ 3,000.00 balance due of the total fee of $ 0.00 concurrently with
                                      or prior to the payments to remaining creditors.

           B.           Claims under 11 U.S.C. §507.
                        The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                        monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid prior to
                        other priority creditors but concurrently with administrative claims above:

Creditor                                          Type of Priority                                              Estimated Claim            Payment and Term
Fairfax County                                    Taxes and certain other debts                                         2,178.00                       Prorata
                                                                                                                                                     6 months
Internal Revenue Service                          Taxes and certain other debts                                         2,301.00                       Prorata
                                                                                                                                                     6 months
Loudoun County                                    Taxes and certain other debts                                         4,500.00                       Prorata
                                                                                                                                                     6 months
Virginia Dept. of Taxation                        Taxes and certain other debts                                             702.35                     Prorata
                                                                                                                                                     0 months

3.         Secured Creditors and Motions to Value Collateral.

          This paragraph provides for claims of creditors who hold debts that are secured by real or personal property of the debtors(s)
but (a) are not secured solely by the debtor(s)' principal residence and (b) do not have a remaining term longer than the length of this
plan.

           A.           Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts secured by
                        a purchase money security interest in a motor vehicle acquired for the personal use of the debtor for which the debt
                        was incurred within 910 days of the filing of the bankruptcy petition, or if the collateral for the debt is any other
                        thing of value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the
                        Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
                        amount of the claim in column (d) with interest at the rate stated in column (e). Upon confirmation of the plan, the
                        interest rate shown below will be binding unless a timely written objection to confirmation is filed and
                        sustained by the Court. Payments distributed by the Trustee are subject to the availability of funds.

         (a)                             (b)                        (c)                           (d)            (e)                      (f)
       Creditor                       Collateral               Purchase Date                Est Claim Amt   Interest Rate    Monthly Paymt& Estimate Term**
-NONE-




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           B.           Claims to Which §506 Valuation is Applicable. Claims listed in this subsection consist of any claims secured by
                        personal property not described in Plan paragraph 3.A. After confirmation of the plan, the Trustee will pay to the
                        holder of each allowed secured claim the monthly payment in column (f) based upon the replacement value as stated
                        in column (d) or the amount of the claim, whichever is less, with interest at the rate stated in column (e). The portion
                        of any allowed claim that exceeds the value indicated below will be treated as an unsecured claim. Upon
                        confirmation of the plan, the valuation and interest rate shown below will be binding unless a timely written
                        objection to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject to
                        the availability of funds.

         (a)                             (b)                        (c)                        (d)             (e)                       (f)
       Creditor                       Collateral               Purchase Date            Replacement Value Interest Rate     Monthly Paymt& Estimate Term**
-NONE-


** THE MONTHLY PAYMENT STATED HERE SHALL BE THE ADEQUATE PROTECTION PAYMENTS PURSUANT
TO 1326(a)(1)(C) TO THESE CREDITORS UNLESS OTHERWISE PROVIDED IN PARAGRAPH 11 OR BY SEPARATE
ORDER OF THE COURT.


           C.           Collateral to be surrendered. Upon confirmation of the plan, or before, the debtor will surrender his or her interest
                        in the collateral securing the claims of the following creditors in satisfaction of the secured portion of such creditors'
                        allowed claims. To the extent that the collateral does not satisfy the claim, any timely filed deficiency claim to which
                        the creditor is entitled shall be paid as a non-priority unsecured claim. The order confirming the plan shall have the
                        effect of terminating the automatic stay as to the collateral surrendered.

Creditor                                                  Collateral Description                                Estimated Total Claim    Full Satisfaction (Y/N)
-NONE-

4.         Unsecured Claims.

           A.           Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                        remaining after disbursement to allowed secured and priority claims. Estimated distribution is approximately
                          100 %. If this case were liquidated under Chapter 7, the debtor(s) estimate unsecured creditors would receive a
                        dividend of approximately 100 %.

           B.           Separately classified unsecured claims.

Creditor                                                           Basis for Classification                                                       Treatment
-NONE-

5.         Long Term Debts and claims Secured by the Debtor(s)' Primary Residence.

           Creditors listed below are either secured by the debtor(s)' principal residence or hold a debt the term of which extends beyond
           the term of this plan.

           A.           Debtor(s) to pay claim directly. The creditors listed below will be paid by the debtor(s) pursuant to the contract
                        without modification, except that arrearages, if any, will be paid by the Trustee either pro rata with other secured
                        claims or on a fixed monthly basis as indicated below.

                                                                                                      Regular                                            Monthly
                                                                                                     Contract   Estimated   Interest     Estimated      Arrearage
Creditor                                Collateral                                                   Payment    Arrearage    Rate       Cure Period      Payment
America's Servicing                     43118 Rocky Ridge Court,                                     5,500.00   40,000.00     0%        35 months          Prorata
Company                                 Lansdowne, Virginia 20176
Ocwen                                   43118 Rocky Ridge Court,                                     2,404.62   18,000.00     0%        35 months          Prorata
                                        Lansdowne, Virginia 20176




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           B.           Trustee to pay the contract payments and the arrearages. The creditors listed below will be paid by the Trustee
                        the regular contract monthly payments during the term of this plan. The arrearage claims, if any, will be cured by the
                        Trustee by payments made either pro rata with other secured claims or by fixed monthly payments as indicated
                        below.

                                                                                                      Regular                                             Monthly
                                                                                                     Contract     Estimated Interest   Term for          Arrearage
Creditor                                Collateral                                                   Payment      Arrearage Rate       Arrearage          Payment
-NONE-

6.         Executory Contracts and Unexpired Leases. The debtor(s) move for assumption or rejection of the executory contracts
           and leases listed below.

           A.           Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory contracts.

Creditor                                                     Type of Contract
-NONE-

           B.           Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                        contracts. The debtor agrees to abide by all terms of the agreement. The Trustee will pay the pre-petition
                        arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as indicated
                        below.

                                                                                                                                    Monthly
                                                                                                                                    Payment             Estimated
Creditor                                     Type of Contract                                                    Arrearage        for Arrears          Cure Period
-NONE-

7.         Motions to Avoid Liens.

           A.           The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)' exemptions. Unless a written
                        objection is timely filed with the Court, the Court may grant the debtor(s)' motion and cancel the creditor's
                        lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation hearing.

Creditor                                     Collateral                                            Exemption Basis and Amount               Value of Collateral
-NONE-

           B.           Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate pleadings to avoid the following liens or security interests. The creditor should review
                        the notice or summons accompanying such pleadings as to the requirements for opposing such relief. The listing
                        here is for informational purposes only.

Creditor                                       Type of Lien                          Description of Collateral                   Basis for Avoidance
-NONE-

8.         Treatment of Claims.

           •            All creditors must timely file a proof of claim to receive payment from the Trustee.
           •            If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely
                        object to confirmation of the plan, the creditor may be treated as unsecured for purposes of distribution under the
                        plan. This paragraph does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided
                        for in this case, after the debtor(s) receive a discharge.
           •            If a claim is listed in the plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the
                        creditor will be treated as unsecured for purposes of distribution under the plan.

9.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the plan.
           Notwithstanding such vesting, the debtor(s) may not sell, refinance, or encumber real property without approval of the court.

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10.         Incurrence of indebtedness. During the term of the plan, the debtor(s) shall not voluntarily incur additional indebtedness in
            an amount exceeding $5,000 without approval of the court.

11.         Other provisions of this plan:



Signatures:


Dated:          March 14, 2007


/s/ Michelle Naomi Campbell-Thomas                                                                          /s/ Nathan Fisher
Michelle Naomi Campbell-Thomas                                                                              Nathan Fisher
Debtor                                                                                                      Debtor's Attorney


Exhibits:                Copy of Debtor(s)' Budget (Schedules I and J);
                         Matrix of Parties Served with plan


                                                                                  Certificate of Service

         I certify that on             March 14, 2007              , I mailed a copy of the foregoing to the creditors and parties in interest on the attached
Service List.


                                                                  /s/ Nathan Fisher
                                                                  Nathan Fisher
                                                                  Signature

                                                                  3977 Chain Bridge Rd., #2
                                                                  Fairfax, VA 22030
                                                                  Address

                                                                  (703) 691-1642
                                                                  Telephone No.



Ver. 06/28/06 [effective 09/01/06]




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Official Form 6I (10/06)


  In re       Michelle Naomi Campbell-Thomas                                                             Case No.       07-10381
                                                                               Debtor(s)

                           SCHEDULE I. CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.
 Debtor's Marital Status:                                                     DEPENDENTS OF DEBTOR AND SPOUSE
                                          RELATIONSHIP(S):                                            AGE(S):
        Married                                None.

 Employment:                                             DEBTOR                                                  SPOUSE
 Occupation                           IT Solutions - Self Employed                              Trucking
 Name of Employer                     MCA, Inc.                                                 DTS Transportation
 How long employed                    12 Years                                                  2 Years
 Address of Employer                  43118 Rocky Ridge Ct.,
                                      Leesburg, VA 20176
 INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                  SPOUSE
 1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $         6,000.00       $         6,000.00
 2. Estimate monthly overtime                                                                             $             0.00       $             0.00

 3. SUBTOTAL                                                                                              $         6,000.00       $         6,000.00

 4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                 $              0.00      $             0.00
     b. Insurance                                                                                         $              0.00      $             0.00
     c. Union dues                                                                                        $              0.00      $             0.00
     d. Other (Specify):                                                                                  $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $              0.00      $             0.00

 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         6,000.00       $         6,000.00

 7. Regular income from operation of business or profession or farm (Attach detailed statement)           $              0.00      $             0.00
 8. Income from real property                                                                             $              0.00      $             0.00
 9. Interest and dividends                                                                                $              0.00      $             0.00
 10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or
      that of dependents listed above                                                                     $              0.00      $             0.00
 11. Social security or government assistance
 (Specify):                                                                                               $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00
 12. Pension or retirement income                                                                         $              0.00      $             0.00
 13. Other monthly income
 (Specify):                                                                                               $              0.00      $             0.00
                                                                                                          $              0.00      $             0.00

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $              0.00      $             0.00

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         6,000.00       $         6,000.00

 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals                                                        $            12,000.00
 from line 15; if there is only one debtor repeat total reported on line 15)
                                                                                     (Report also on Summary of Schedules and, if applicable, on
                                                                                     Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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Official Form 6J (10/06)


 In re      Michelle Naomi Campbell-Thomas                                                    Case No.    07-10381
                                                                  Debtor(s)


           SCHEDULE J. CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

o Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                7,904.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                  450.00
                   b. Water and sewer                                                                       $                  510.00
                   c. Telephone                                                                             $                  120.00
                   d. Other Cell                                                                            $                  345.00
3. Home maintenance (repairs and upkeep)                                                                    $                  200.00
4. Food                                                                                                     $                  595.00
5. Clothing                                                                                                 $                   90.00
6. Laundry and dry cleaning                                                                                 $                   60.00
7. Medical and dental expenses                                                                              $                   60.00
8. Transportation (not including car payments)                                                              $                  245.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   30.00
10. Charitable contributions                                                                                $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    0.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                  320.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                    0.00
                   b. Other Husband's car payment                                                           $                  711.00
                   c. Other                                                                                 $                    0.00
                   d. Other                                                                                 $                    0.00
14. Alimony, maintenance, and support paid to others                                                        $                    0.00
15. Payments for support of additional dependents not living at your home                                   $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                    0.00
17. Other                                                                                                   $                    0.00
    Other                                                                                                   $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $               11,640.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $               12,000.00
b. Average monthly expenses from Line 18 above                                                              $               11,640.00
c. Monthly net income (a. minus b.)                                                                         $                  360.00
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                        ADT Security Systems
                        c/o Collectech
                        P.O. Box 361567
                        Columbus, OH 43236


                        America's Servicing Company
                        7495 New Horizon Way
                        Frederick, MD 21703


                        Audio Clinic
                        ACI Home Theater
                        905 Bonifant Street
                        Cranston, RI 02910


                        Commonwealth Emergency Phys.
                        P.O. Box 13700-1369
                        Philadelphia, PA 19191


                        Directv
                        P.O. Box 78626
                        Phoenix, AZ 85062


                        Fairfax County
                        Dept. of Tax Administration
                        P.O. Box 10200
                        Fairfax, VA 22035-0200


                        Fairfax Radiological Cons.
                        2722 Merrilee Drive, Ste. 230
                        Fairfax, VA 22031


                        Internal Revenue Service
                        Philadelphia, PA 19255



                        IRS Special Procedures
                        P.O. Box 10025
                        Richmond, VA 23240


                        Lansdowne on the Potomac
                        c/o Community Management
                        P.O. Box 10821
                        Chantilly, VA 20153
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                    Loudoun County
                    Treasurer
                    P.O. Box 347
                    Leesburg, VA 20178


                    Nationwide Credit
                    P.O. Box 740640
                    Atlanta, GA 30374-0640


                    Ocwen
                    1675 Palm Beach Lakes Blvd.
                    West Palm Beach, FL 33401


                    Office of the U.S. Trustee
                    115 South Union St., Ste. 210
                    Alexandria, VA 22314


                    Quest Diagnostics
                    P.O. Box 64797
                    Baltimore, MD 21264-4797


                    Samuel I. White, PC
                    209 Business Park Drive
                    Virginia Beach, VA 23462


                    Southern Polytech State
                    c/o ACS
                    P.O. Box 3295
                    Milwaukee, WI 53201


                    Through the Garden
                    263 Chipley School Road
                    Harpers Ferry, WV 25425


                    Virginia Dept. of Taxation
                    P.O. Box 2369
                    Richmond, VA 23218


                    Virginia Dept. of Taxation
                    Office of Compliance
                    P.O. Box 1880
                    Richmond, VA 23218-1880
